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April 12, 2024
Mark J. Langer
Clerk of the Court
United States Court of Appeals for the District of Columbia Circuit
E. Barrett Prettyman United States Courthouse
333 Constitution Ave., NW
Washington, DC 20001

      Re:    Paragould Light & Water Commission, d/b/a Paragould Light,
             Water & Cable – PLLC, et al. v. FERC, No. 23-1133
             (Oral Argument Held April 5, 2024)
             Rule 28(j) Supplemental Authority

Dear Mr. Langer:
       Pursuant to Rule 28(j) of the Federal Rules of Appellate Procedure,
Respondent-Intervenor Southwest Power Pool, Inc. (“SPP”) provides additional
information requested during oral argument. See Oral Argument 1:07, Paragould
Light & Water Commission, d/b/a Paragould Light, Water & Cable – PLLC, et al.
v.      FERC,     No.     23-1133      (D.C.     Cir.     Apr.     5,    2024),
https://www.cadc.uscourts.gov/recordings/recordings2023.nsf/84CC6981ADC144
2185258AF600404290/$file/23-1133.mp3 (“You mentioned at the very beginning a
couple of examples of, you know, assets coming on, localities, assets coming on
board. Do you what I’m talking about?” (Trinkle) “Yes, I do.” “Can you give any
specifics – how would I find those?” (Judge Walker)). Judge Walker also asked
whether the City if Nixa, Missouri, had taken a position in another case the
undersigned mentioned. Id.

        The case referenced by counsel is currently pending and set for hearing before
the Federal Energy Regulatory Commission in Docket No. ER22-1525-000. See Sw.
Power Pool, Inc., 179 FERC ¶ 61,155 (2022). That case involves a transmission
owner serving load in multiple zones, and SPP assigning the respective transmission
facilities interconnected with each of those loads to the respective zones where the
load is located. Similarly, in this proceeding SPP assigned transmission facilities to
the zone where the interconnected load is located. Neither the City of Nixa nor
petitioners the “ARKMO Cities” have intervened in that proceeding.
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       In addition to the foregoing and Nebraska Public Power District v. FERC,
957 F.3d 932 (8th Cir. 2020), which was discussed at oral argument, SPP has on
many occasions incorporated pre-existing facilities of transmission owners into
existing pricing zones. See, e.g., Sw. Power Pool, Inc., 171 FERC ¶ 61,274 (2020),
order approving settlement, 174 FERC ¶ 61,146 (2021) (approving a placement of
existing transmission assets into SPP pricing zone 19). Attachment H of the SPP
Open Access Transmission Tariff lists each of the pricing zones and the transmission
owners with facilities in those zones. Table 1 of Attachment H lists several zones
with more than one owner, the majority of which involved incorporating a
transmission owner’s pre-existing transmission facilities into an existing SPP pricing
zone, such as is the case in the instant proceeding.



                                              Respectfully submitted,

                                               /s/ Elizabeth P. Trinkle
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                          CERTIFICATE OF SERVICE

      Pursuant to Rule 25 of the Federal Rules of Appellate Procedure and Rule

25(f) of the Circuit Rules of this Court, I hereby certify that I have, this 12th day of

April 2024, served the foregoing letter via the CM/ECF system. I certify that all

participants in the case are registered CM/ECF users and that service will be

accomplished by the CM/ECF system.

                                                /s/ Elizabeth P. Trinkle
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